            Case 2:20-cv-01472-TLF Document 9 Filed 12/16/20 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                              OFFICE OF THE CLERK
                                   AT SEATTLE


WILLIAM M. MCCOOL
CLERK OF COURT
700 STEWART ST.
SEATTLE, WA 98101
December 16, 2020
To:      Counsel and pro se parties in Ladue et al v. Kettle Falls International Railway LLC
         et al, 2:20−cv−01472−TLF
From:    Traci Whiteley, Deputy Clerk
Re:      Assignment to United States Magistrate Judge; Action required.
This case has been assigned to United States Magistrate Judge Theresa L. Fricke for all
purposes, including trial, final entry of judgment, and direct review by the Ninth Circuit
Court of Appeals. See Amended General Order 02−19, 28 USC 636(c), Federal Rule of
Civil Procedure 73, and Local Magistrate Judge Rule 13.
Consent to a Magistrate Judge is voluntary. Any party may decline consent by signing at
the bottom and emailing this form to traci_whiteley@wawd.uscourts.gov, or faxing it to
253−882−3829, or mailing to the above address. The form must be received by the court no
later than December 23, 2020. Do not electronically file this form..
Each party will be deemed to have knowingly and voluntarily consented to proceed
before the assigned Magistrate Judge, if this form is not returned by the above date.
If a party declines consent, the identity of the party declining consent will not be
communicated to any judge.



      I decline consent and request the case be assigned to a District Judge



   Attorney/Party's Signature            Party Represented                  Date Signed
